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HEATHER N. BABIONE, Esq. ROSA COSCIA
KEITH E. WILLIAMS, ESQ. May 17 2019

VIA: ECF Filing

Honorable Sandra J. Feuerstein
United States District Judge
United States District Court
Eastern District of New York
100 Federal Plaza

Central Islip, NY 11722

Re: | Greengus v. Long Beach Public Schools, et al.
Docket No.: 16 CV 01955 (SJF)(AYS)

Dear Judge Feuerstein:

This office represents the Plaintiffs in the above-referenced matter. This action is consolidated
with the matters L.G. et al. v. Long Beach Public Schools et al., 17 CV 00453 (SJF)(AYS) and
Weitzman v. Long Beach City School District et al., 16 CV 3544 (SJF)(AYS).

Kindly accept this correspondence as the Plaintiffs’ application to reopen this matter.

The Court recently reopened the matter of L.G. et al. v. Long Beach Public Schools et al., 17 CV
00453 (SJF)(AYS) and held a status conference on May 14, 2019 [D.E. 31]. At the status
conference, the Court referred outstanding discovery to Magistrate Judge Shields, directed that
discovery be completed by February 18, 2020, and set that matter down for a pretrial conference
on May 18, 2020 [D.E. 31].

The Plaintiffs here respectfully request that this matter be reopened, and that the same schedule be
given to them.

Thank you for your time and attention to this matter.

  

cc: Counsel of record via ECF

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